441 U.S. 792
    99 S.Ct. 2400
    60 L.Ed.2d 646
    Peggy J. CONNOR et al.v.J. P. COLEMAN, Judge, United States Court of  Appeals, et al
    No. 78-1013
    Supreme Court of the United States
    May 21, 1979
    
      On petition for a writ of mandamus.
      PER CURIAM.
    
    
      1
      On  440 U.S. 612, 99 S.Ct. 1523, 59 L.Ed.2d 619.  The order granting leave recited that we continued for 30 days our consideration of the petition.
    
    
      2
      The Clerk of the District Court has now formally advised the Clerk of this Court that on April 13, 1979, the District Court entered a final judgment specifying a court-ordered plan for the reapportionment of the legislature and for elections to be conducted in the coming summer.  The District Court Clerk has also stated that all parties to the litigation have announced in open court that there will be no appeal.
    
    
      3
      The petition for a writ of mandamus is therefore denied.
    
    
      4
      So ordered.
    
    
      5
      Mr. Justice POWELL took no part in the decision on this petition.
    
    